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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re                                                          :
                                                               :   Chapter 7
ORLY GENGER,                                                   :   Case No. 19-13895 (JLG)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------X
DALIA GENGER,                                                  :
                                                               :   Adv. Pro. No. 20-01010 (JLG)
                                    Plaintiff,                 :
                                                               :
         v.                                                    :
                                                               :
ORLY GENGER, MICHAEL BOWEN,                                    :
ARIE GENGER, ARNOLD BROSER,                                    :
DAVID BROSER, ERIC HERSCHMANN,                                 :
THE GENGER LITIGATION TRUST,                                   :
ADBG LLC, TEDCO INC., and                                      :
DEBORAH PIAZZA, as Chapter 7 Trustee,                          :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

    DECLARATION OF JARED C. BORRIELLO IN SUPPORT OF VARIOUS
DEFENDANTS’ MOTION TO DISMISS DALIA GENGER’S AMENDED COMPLAINT

                 I, Jared Borriello, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

        1.       I am an associate at the law firm of Togut, Segal & Segal LLP, counsel to

defendant Arie Genger. I respectfully submit this Declaration in support of the Various

Defendants’ Motion to Dismiss Dalia Genger’s Amended Complaint (the “Motion”).

Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.

        2.       Attached as Exhibit 1 is a true and correct copy of Dalia Genger’s Amended

Complaint dated June 7, 2020, filed in this adversary proceeding at ECF No. 8.

        3.       Attached as Exhibit 2 is a true and correct copy of the 2004 Divorce Agreement

between Arie Genger and Dalia Genger.
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       4.      Attached as Exhibit 3 is a true and correct copy of the Final Arbitration Award

dated May 6, 2008, as entered in Dalia Genger v Arie Genger, No. 13 170 Y 00996 07,

American Arbitration Association, Commercial Arbitration Tribunal, New York City.

       5.      Attached as Exhibit 4 is a true and correct copy of the 2004 Support Agreement

between Sagi Genger and Dalia Genger, dated October 30, 2004.

       6.      Attached as Exhibit 5 is a true and correct copy of the 2004 Indemnity between

Sagi Genger and Orly Genger, dated November 10, 2004.

       7.      Attached as Exhibit 6 is a true and correct copy the Amended Petition to

Designate Trustee or, in the Alternative, to Appoint a Special Trustee, and to Compel

Accounting, dated February 14, 2008, and filed by Orly Genger in the New York Surrogate’s

Court (Index No. 2008-0017/E).

       8.      Attached as Exhibit 7 is a true and correct copy of the Side Letter Agreement

dated August 22, 2008.

       9.      Attached as Exhibit 8 is a true and correct copy of excerpts of the transcript of the

hearing held on August 9, 2016 in Genger v. Genger, Index No. 109749/2009 (Sup. Ct. N.Y.

County) (the “2009 Action”).

       10.     Attached as Exhibit 9 is a true and correct copy of 2013 Settlement Agreement

dated June 16, 2013.

       11.     Attached as Exhibit 10 is a true and correct copy of the Genger Litigation Trust

Agreement dated June 28, 2012.

       12.     Attached as Exhibit 11 is a true and correct copy of the Proof of Claim filed by

ADBG LLC in Orly Genger’s Chapter 7 case on December 9, 2019.




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          13.    Attached as Exhibit 12 is a true and correct copy of the Affidavit of Dalia,

Genger Trustee dated June 26, 2013, and filed by Dalia Genger in Genger v. Genger, Index No.

651089/2010 (Sup. Ct. N.Y. County) (the “2010 Action”).

          14.    Attached as Exhibit 13 is a true and correct copy of the “so-ordered” Second

Amended Stipulation of Discontinuance with Prejudice, entered on July 1, 2013 in the 2010

Action.

          15.    Attached as Exhibit 14 is a true and correct copy of the Objections to Stipulation

dated June 19, 2013, and filed by TPR and Sagi Trust in the 2010 Action at NYSCEF Doc. No.

467.

          16.    Attached as Exhibit 15 is a true and correct copy of the Skadden Letter dated

June 30, 2013.

          17.    Attached as Exhibit 16 is a true and correct copy of the transcript of the hearing

held on August 1, 2013, in the Court of Chancery of the State of Delaware (Case No. 6906-CS).

          18.    Attached as Exhibit 17 is a true and correct copy of the Stipulation and Order of

Dismissal, by and between the Trump Group, TPR Investment Associates, Inc., and Dalia

Genger, as Trustee of the Orly Genger 1993 Trust, so ordered on August 30, 2013 in the Court of

Chancery of the State of Delaware (Case No. 6906-CS).

          19.    Attached as Exhibit 18 is a true and correct copy of a Notice of Appeal, dated

March 29, 2013, and filed in the Delaware Supreme Court.

          20.    Attached as Exhibit 19 is a true and correct copy of the Amended Petition for

Turnover of Trust Property and Other Relief, dated March 28, 2018, filed by Dalia Genger in the

New York County Surrogate’s Court (Index No. 2008-0017/E).




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       21.     Attached as Exhibit 20 is a true and correct copy of a Certificate of Service filed

in this adversary proceeding at ECF No. 3.

       22.     Attached as Exhibit 21 is a true and correct copy of excerpts of the transcript of

the hearing held on January 8, 2019 in the case titled, Sagi Genger v. Orly Genger, in the United

States District Court for the Southern District of New York (Case No. 17-cv-8181-VSB).

       23.     Attached as Exhibit 22 is a true and correct copy of Manhattan Safety Maine,

Inc.’s Articles of Incorporation filed with the Maine Secretary of State on June 12, 2019 and a

true and correct copy of Recovery Effort Inc.’s Articles of Incorporation filed with the Arkansas

Secretary of State on June 4, 2019.

       24.     Attached as Exhibit 23 is a true and correct copy of the assignment agreement by

and between Dalia Genger, as Sole Trustee of the Orly Genger 1993 Trust, and Dalia Genger, as

Sole Director of Recovery Effort Inc., dated June 13, 2019.

       25.     Attached as Exhibit 24 is a true and correct copy of the inter-creditor agreement

by and between the Orly Genger 1993 Trust, Recovery Effort Inc., Sagi Genger, TPR Investment

Associates, Inc., Manhattan Safety Company Ltd., Manhattan Safety Maine, Inc., and Emmer,

Marvin & Martin LLP, dated June 16, 2019.

       26.     Attached as Exhibit 25 is a true and correct copy of the transcript of the hearing

held on August 4, 2016 in the 2009 Action.

       27.     Attached as Exhibit 26 is a true and correct copy of the Decision and Order dated

May 29, 2013 in the 2009 Action.

       28.     Attached as Exhibit 27 is a true and correct copy of the Bachman Letter in regard

to the 2013 Settlement Agreement with Trump Group and AG Group, dated June 17, 2019.




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        29.    Attached as Exhibit 28 is a true and correct copy of the Joinder of Michael

Oldner, Trustee of the Orly Genger 1993 Trust, to Judgment Creditor Sagi Genger’s Motion to

Dismiss Bankruptcy Case or, Alternatively, to Transfer Venue, and Memorandum of Law in

Support, dated October 18, 2019, and filed in Orly Genger’s Chapter 7 case at ECF No. 108.

        30.    Attached as Exhibit 29 is a true and correct copy of the Notice of Discontinuance,

dated June 20, 2019, and filed by the trustees for the Orly Genger 1993 Trust in the New York

County Surrogate’s Court (Index No. 2008-0017/E).

        31.    Attached as Exhibit 30 is a true and correct copy of the Objection and Response

of Dalia Genger and D&K GP LLC to the Trustee’s Application Under Federal Rule of

Bankruptcy Procedure 9019 and Local Rule 9019 to Approve Compromise [Dkt. No. 52], dated

October 18, 2019, and filed in Orly Genger’s Chapter 7 case at ECF No. 115.

        32.    Attached as Exhibit 31 is a true and correct copy of the Orly Genger 1993 Trust

Instrument of Resignation of Trustee and Appointment of Successor Trustee, dated June 12,

2019.

        33.    Attached as Exhibit 32 is a true and correct copy of Dalia Genger’s Responses to

Chapter 7 Trustee’s Requests for Admission, dated June 17, 2020.

        34.    Attached as Exhibit 33 is a true and correct copy of the decision, dated June 21,

2017, entered in the New York County Surrogate’s Court (Index No. 2008-0017/E).

        I declare under penalty of perjury that the foregoing is true and correct.

Executed on: June 25, 2020
                                               /s/ Jared C. Borriello
                                               JARED C. BORRIELLO
                                               TOGUT, SEGAL & SEGAL LLP
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               (212) 594-5000



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                               CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system was served on June 25,
2020 by electronic means via the Court’s CM/ECF system on all counsel registered to receive
electronic notices.
                                                           /s/ Jared C. Borriello
                                                           JARED C. BORRIELLO
